               Case 3:03-cr-00078-SEC    Document 95      Filed 11/18/05   Page 1 of 1




                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA
     Plaintiff
               v.                         Criminal No. 03-78(SEC)
LUZ GONZALEZ-CARDONA
     Defendant

                                           ORDER
          MOTION                                             RULING

Docket # 93                     GRANTED. Defendant Luz González-Cardona has filed a motion
Request for Early Termination   requesting early termination of her supervised release (Docket # 93).
of Supervised Release Term      Defendant González-Cardona’s U.S. Probation Officer, Mr. Miguel
                                Arroyo, has not opposed said motion and has expressed no objection to
                                Defendant’s petition. Therefore, since Defendant González-Cardona has
                                complied with her conditions of probation, the Court hereby GRANTS
                                her the benefit of early termination of her probation term.

DATE: November 18, 2005

                                                              S/   Salvador E. Casellas
                                                              SALVADOR E. CASELLAS
                                                              U.S. Senior District Judge
